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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )               Case No. 1:21-cr-41-5 (CJN)
BRADLEY RUSKTALES,                            )
                                              )
               Defendant.                     )


                DEFENDANT’S MOTION FOR LEAVE TO FILE SEALED
                  AND REDACTED MATERIAL, AND TO LATE FILE
               DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

       Defendant Bradley Rukstales, by and through undersigned counsel, respectfully moves

this Court for an order to seal portions of Defendant’s Memorandum in Aid of Sentencing and

Exhibits A and M to the same. The sealing requested by Mr. Rukstales is necessary to ensure the

privacy of this sensitive and related health information.

       As well, counsel seeks to late file the Memorandum by five (5) hours; counsel had an

urgent childcare issue that delayed the filing. Counsel submits that the government is not

prejudiced by the delay.

       Wherefore, for the foregoing reasons, Bradley Rukstales respectfully requests that this

Court grant his Motion and order that:

       1) a portion of Defendant’s Memorandum in Aid of Sentencing and Exhibits A and M to

           the same be sealed and entry on the public docket of the material contained therein be

           delayed until further order of this Court; and

       2) an unsealed, redacted version of Defendant’s Memorandum in Aid of Sentencing

           shall be filed in the public record until further order of this Court; and

       3) the request the late file Defendant’s Memorandum in Aid of Sentencing is granted.


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                                           Respectfully submitted,

                                           ____________/s_________________
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 4th day of November 2021, I caused a true and correct

copy of the foregoing Defendant’s Motion to be delivered via ECF to Assistant United States

Attorneys Seth Meinero and Susan Lehr, United States Attorney’s Office, 555 4th Street, NW,

Rm. 4840, Washington, D.C. 20530.


                                           ___________/s/__________________
                                           David Benowitz




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